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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND


In re:                                                 *

Yolande E Essangui                                     *      Case No. 16-12984

                                                       *      Chapter 7
                Debtor
*        *      *      *       *       *       *       *      *       *       *       *

Yolande E Essangui                                     *

                Plaintiff                              *      Adv. No. 16-00201

v.                                                     *

Firstmark Services, et al.                             *

                        Defendants.                    *

*        *      *       *      *       *       *       *      *       *       *       *

    AFFIDAVIT OF YOLANDE E. ESSANGUI IN SUPPORT OF PLAINTIFF'S MOTION
                        FOR SUMMARY JUDGMENT

         I, Yolande E. Essangui, hereby swear and affirm under the penalties of perjury that the

following is true and correct based upon my own personal knowledge:

         1.     I am the debtor in this Chapter 7 case and the Plaintiff in this adversary

proceeding. I make this affidavit in support of the Motion for Summary Judgment I am filing in

this adversary proceeding.

         2.     I am a resident of the State of Maryland.

         3.     Prior to March, 2008 I decided to pursue a medical career. I identified Ross

University Medical School ("Ross") as an institution that I may wish to attend for that purpose.

         4.     Unfortunately, I was unable to obtain direct admission into Ross. However, I was

conditionally admitted into Ross conditioned upon my successfully completing a course of study



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in the Medical Education Review Program ("MERP"). I received information concerning MERP

included on the summary of the course description attached as Exhibit "A". I received this

information directly from MERP.

       5.      According to the materials I received from the program, MERP is a program

designed and offered by Dominica Management, Inc. in cooperation with the Faculty of the Ross

University School of Medicine. MERP is a rigorous one semester (15 credit - equivalent)

program designed to provide preparatory basic sciences course content typically offered during

the four semesters of the Basic Medical Sciences Program (BMSP) on Dominica. The selected

courses integrate and articulate with coursework and content offered in the 1st, 2nd and 3rd

semesters. See Exhibit A hereto.

       6.      According to the materials I received from the program, MERP adheres to

academic policies specifically established for the program and not those in place for Ross

University School of Medicine. All academic matters, including grading policies and academic

standards are within the purview of the MERP Advisory Committee, comprised of selected

members of MERP faculty, the Program Director, and the administrative oversight team. See

Exhibit A hereto.

       7.      MERP does not offer a credential upon completion nor a transcript reflecting a

student's status relative to coursework taken in MERP.

       8.      I enrolled in MERP in March, 2008.

       9.      As I was unable to pay the MERP program fees from my funds on hand, I needed

to finance the program fees and other living expenses from loans. However, I discovered that

federal aid, grants or loans are not available to students attending MERP. See the AUC Financial




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Aid Planning Guide, attached as Exhibit "B", page 2. Accordingly, I needed to obtain private

loans to finance my enrollment in the MERP.

       10.     To finance my enrollment into MERP I obtained a private student loan advanced

by Citibank in March, 2008. This loan was subsequently assigned to and is now held by

Defendant. The original loan amount was $23,670 which I used to pay for the MERP program

fees and books, for rent as well as living expenses in South Miami, Florida. Based upon

information received from the Defendant in this case the

       11.     I completed the course of study in the MERP and obtained admission to Ross for

the fall, 2008. A true and accurate copy of my admission letter is attached hereto as Exhibit "C"

and is incorporated herein by reference.

       12.     Although I completed the course of study in the MERP, I found myself totally

unprepared to succeed in medical school. I received four "F" grades and one "B" grade in my

only semester at Ross. A true and accurate copy of my transcript at Ross is attached hereto as

Exhibit "D" and is incorporated herein by reference. I was dismissed from Ross in December,

2008 and have not returned.

       I declare under the penalties of perjury that the foregoing is true and correct to the best of

my own personal knowledge.



Dated: June 28, 2017                                  /s/Yolande E. Essangui
                                                      Yolande E. Essangui




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                EXHIBIT!A!
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                          Medical Education Review Program



The Medical Education Review Program (MERP) is a program designed and offered by
Dominica Management, Inc. in cooperation with the Faculty of the Ross University
School of Medicine. MERP is a rigorous one semester (15 credit - equivalent) program
designed to provide preparatory basic sciences course content typically offered during the
four semesters of the Basic Medical Sciences Program (BMSP) on Dominica. The
selected courses integrate and articulate with coursework and content offered in the
1st, 2nd and 3rd semesters. MERP courses consist of the following:

Medical Chemistry/Molecular Biology/Genetics
Medical Chemistry gives a comprehensive description and understanding of chemical
structures and processes important in the human body. These principles are necessary for
the medical practice and for learning biochemistry. The information also contributes to
the learning of the needed basics of physiology, pathophysiology, pathology,
pharmacology, numerous clinical topics and laboratory diagnostics.
(articulates with Biochemistry – 1st semester)
Ross University Faculty liaison: N. Larsen, Ph.D.

Molecular Biology/Genetics is a study of systems, mechanisms, and methods of
molecular biology, genetic material – mutagenesis, replication, regulation, transcription,
and translation – and its protein products and their biological functions. This course
also presents the principles and mechanisms of inheritance and variation.
(articulates with Genetics – 1st semester)
Ross University Faculty liaison: Cary James.

Human Physiology including Introduction to Biophysics
This course examines the cellular, systems and integrative aspects of Medical
Physiology, while using clinical examples throughout the course to illustrate fundamental
physiological principles. Special attention is given to Cardiovascular, Autonomic, Body
Fluids, Renal, Respiration, Endocrine, Gastrointestinal, Muscular and Reproductive
Systems. The content and instructors of this course are essentially identical to the course
given to Ross University medical students. The faculty use lectures and workshops (no
laboratory) to present the material in a highly interactive way. Special attention is given
to students who have previously experienced difficulty mastering difficult course content.
Additionally, this course is appropriate for students preparing to enter medical studies.
(articulates with Physiology – 2nd semester)
Ross University Faculty liaison: TBA

Microbiology and Immunology
The course will cover fundamental concepts necessary for the acquisition of a solid
understanding of the nature of infectious agents and the mechanisms for host resistance.
Microbiology and Immunology serves as a “primer”, with focus on basic principles and
the use of interactive exercises to underscore the importance of an analytical approach
and the application of basic information for the resolution of clinical problems.
(articulates with Microbiology and Immunology – 3rd semester)
Ross University Faculty Liaison: Dr. Raymond Adebiyi



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                          Medical Education Review Program



Basic Histology
The course will cover the basic elements of histologic structure of various organ systems
and also essential gross characteristics of certain organ systems along with their
functions. A concise explanation of abnormal histology is also provided during the
course. Relevant clinical correlation is emphasized.

Building a Clinical Foundation
Course description to be provided.
(articulates with Doctor, Patient and Society – 1st semester)
Ross University Faculty liaison: Davendra Sharma, M.D. and Enrique Fernandez, M.D.


                          LEARNING SUPPORT SYSTEMS

MERP will introduce a Supplemental Instruction (SI) program to students. The MERP SI
program is designed to offer students academic assistance in historically difficult classes.
It will enable students to master content while they develop and integrate learning and
study strategies. The goals of MERP SI include: (1) improve student grades in targeted
courses; (2) reduce the attrition rate within the courses; (3) increase the successful
completion rate of students.
MERP SI Coordinator: Bill G. Clutter, Ph.D.

SITE
The Medical Education Review Program will be offered in Miami at the 7000 building on
 62nd Avenue. The 6th floor contains 7000 square feet and includes three classrooms
adjacent faculty offices, and a student lounge – that is shared
with the AICM 5th semester program currently occupying one classroom and learning
resource facilities on that floor.

FACULTY
Faculty are based in Miami and there is one faculty member for each of
the science disciplines represented in the curriculum (biochemistry, molecular
biology/genetics, microbiology/immunology; physiology/biophysics). All faculty
members hold either a Ph.D. or M.D. degree in their field of teaching and have
established experience in teaching undergraduate/graduate or professional-level students.

TIMETABLE

Start Date: April 16, 2007 – end date: July 27, 2007 – in anticipation of the September
                      2007 class start in Dominica.
                      July 9, 2007 to October 18, 2007- in anticipation of the January
                      2008 class start in Dominica.
                      October 29, 2007 to February 14, 2008-in anticipation of the May
                      2008 class start in Dominica.




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                         Medical Education Review Program



TARGET AUDIENCE

Students accepted into MERP will have met all minimum requirements for admission to
Ross University School of Medicine, including course pre-requisites, MCAT scores
(unless exempted), letters of recommendation, and a personal statement. Students offered
a seat in MERP may be asked to provide an additional essay stating why they should be
considered for MERP admission as a step to gain admission to Ross University School of
Medicine.

The Committee on Admissions in Dominica and an Admissions Committee in Miami will
                       interact on a regular basis, and will carefully review decisions in
                       terms of
the success of the students who complete the Program and matriculate to Dominica. The
 expectation is that there will be no attrition (based upon academic performance in the
                       basic sciences medical program (BSMP) among those students
                       who successfully complete MERP.


 ACADEMIC POLICIES
MERP will adhere to academic policies specifically established for the program and not
those in place for Ross University School of Medicine. All academic matters, including
grading policies and academic standards are within the purview of the MERP Advisory
Committee, comprised of selected members of MERP faculty, the Program Director, and
the administrative oversight team.


Successful completion of the Program will require a cumulative numeric average of 70 or
above. All 4 courses required in the curriculum are considered in the calculation and
are weighted only by the value of credit hours equivalents (4 credit course vs. 3 credit
                       course).

Mini-examinations are conducted and are consistent with basic science semester tests
given on the Dominica campus. MERP testing provides an appropriate context and rigor
which students can expect upon promotion to the 1st semester at Ross University School
of Medicine.

Any students failing one course during the semester cannot be considered for promotion
to the Ross University program. Students will not be allowed to repeat a course. MERP
will be viewed as a one-semester chance for a student to qualify for admission to Ross
University School of Medicine.

A summative evaluation will be completed for each student who completes MERP.
It will include narrative assessments of each course attempted and an overall profile of
the successful candidate – addressing each of the specific criteria upon which admission
is based and highlighting strengths and weaknesses. This assessment will be shared with



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                         Medical Education Review Program

the Admissions Committee and the Ross University Faculty at the time of the student’s
promotion into 1st semester in Dominica.

The MERP administrative oversight team will regularly report on the outcomes
associated with MERP to Ross University officials, the corporate Executive Committee,
and others for purposes of correlating admissions standards and criteria against student
performance in MERP and Ross University basic sciences and clinical curriculum.
The following specifics will be included:

    •   Students admitted to the Program – and their quantitative measures:
        undergraduate institution (academic rigor); graduate program (rigor); cumulative
        undergraduate GPA, cumulative pre-requisite GPA, cumulative advanced
        biology/chemistry GPA, cumulative graduate/professional GPA (if applicable),
        MCAT scores (if available) will be reviewed in the context of their performance
        in MERP – by course and numeric grade.

    •   All students who gain admission to Ross University School of Medicine will be
        tracked throughout BMSP, AICM, and the clinical semesters to ascertain their
        academic performance and incorporate Board results and residency match in the
        final studies.




(8/15/04)




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            EXHIBIT B
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                                            FINANCIAL AID PLANNING GUIDE




                                              OFFICE OF STUDENT FINANCE

                                              485 US Highway 1 South, Building B,
                                              4th Floor, Iselin, NJ 08830
                                              Telephone: (732) 509-4703
                                                           (732) 509-4858
                                              Fax: (732)-509-4852
                                              Email: FinAid@AUCmed.edu
                                                     Accounts@AUCmed.edu
                                              Online: www.aucmed.edu/studentfinance
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AMERICAN UNIVERSITY OF THE CARIBBEAN SCHOOL OF MEDICINE



Students accepted for admission to American University of           FINANCIAL AID APPLICATION PROCESS
the Caribbean School of Medicine (AUC) and those who are            Step One
in attendance and maintaining standards of satisfactory             A prospective applicant to AUC should not wait until
academic progress may apply for student loans to meet               acceptance before completing the appropriate documents.
direct and indirect educational expenses. Students must be          Students (U.S. Citizens/permanent residents/other eligible
a United States citizen, permanent resident, or other eligible      noncitizens only) in need of financial assistance to help
noncitizen to be eligible for loans through the William D. Ford     with the payment of tuition, fees, and other related costs,
Federal Direct Loan Program and most private loan programs          are advised to submit the 2014-2015 Free Application for
described in this publication.                                      Federal Student Aid (FAFSA). The FAFSA can be completed
                                                                    online at www.fafsa.ed.gov. Graduate and professional level
Additionally, a student must not be in default on prior federal     students are considered independent for federal purposes,
student loans or have outstanding overpayments for prior            and therefore do not need to provide data or signatures for
loans/grants at any institution. Each continuing student must       their parents.
also comply with the institutional Satisfactory Academic
Progress Policy (SAP) as published in the Student Handbook.         Students attending the 2014-2015 award year should submit
The maximum loan amount for which a student is eligible may         their application no later than 3 months prior to their semester
not exceed the Cost of Attendance for the academic period in        start date. Applications will be accepted after this date, but
which the student is enrolled. First year estimates for             delivery of funds may be delayed.
Cost of Attendance are included in this publication and may
be adjusted by the University each semester or calendar year.
                                                                       FAFSA Federal School Code
Students accepted to the Medical Education Readiness
                                                                       American University of the Caribbean is: G22444
Program (MERP) are not eligible for federal student loans,
however they may be eligible for private loan programs at the
lender’s discretion. Students must be credit-worthy or have a       Students who do not complete the process before tuition
credit-worthy co-signer that meets the lender’s requirements.       and fees are due (usually 30 days in advance of the start
                                                                    of a semester) should be prepared to make payment from
Canadian citizens may be eligible for loans through the             personal resources until loans are approved and credited to
Canadian government and/or private loan programs. For more          the student’s account.
information, please refer to the Financial Planning Guide for
Canadian Students, which is available online at                     Step Two
www.aucmed.edu/student-finance.                                     Typically, federal financial aid recipients are eligible for a
                                                                    maximum of $10,250 in Federal Direct Unsubsidized Loans
                                                                    per semester. In addition, most students will apply for the
                                                                    Federal Direct Graduate PLUS Loan to cover the remaining
                                                                    tuition costs, as well as living and other “indirect” expenses
                                                                    for the semester. The Graduate PLUS loan approval is based
                                                                    on the last 5 years of your credit history. It is EXTREMELY
                                                                    important to review your credit history. You can request a free
                                                                    credit report at www.annualcreditreport.com. You may also
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                                                                                         FINANCIAL AID PLANNING GUIDE



request a preapproval for your Graduate PLUS loan at                     is selected for verification unless notified otherwise by the
www.studentloans.gov. Students may find that they are not                Office of Student Finance.
credit-worthy on their own (and must obtain a co-signer) or           • A Comment Code is present on the SAR.
need time to resolve credit issues that affect their credit-             A Comment Code could indicate several things. Some
worthiness. This process can often take several months to                common issues include a mismatch of name, Social
address. Students who start the process early will have a                Security number, date of birth, citizenship/permanent
better chance of receiving their loans on time.                          residence, no record of Selective Service registration or an
                                                                         indication of a prior student loan default. In these cases,
                                                                         the appropriate documentation must be submitted to the
ADDITIONAL INFORMATION REQUESTS                                          Office of Student Finance.
Once your Free Application for Federal Student Aid (FAFSA)               • We will request the appropriate documentation when
has been processed, you may be asked to submit additional                    a comment code is indicated.
information to the Office of Student Finance. If you need to             • If there is a Selective Service registration issue, the
provide additional documentation, you will receive an email                  student must contact the Selective Service System at
indicating which documents are required.                                     (847)-688-6888 and provide acceptable documentation
                                                                             that the problem has been resolved.
Students will receive a “Missing Item” letter via e-mail from            • Proof of cleared loan default status from the student loan
the Office of Student Finance indicating which documents                     agency will be requested to resolve a defaulted loan status.
are needed for financial aid eligibility determinations. If a
student’s financial aid file remains incomplete 15 days after
a Final Missing Item letter is mailed, the file will be placed in     AWARD NOTICES
an “inactive” status and the student will be responsible for          Financial Aid eligibility can only be determined after all
payment of tuition and fees to the University from personal           appropriate forms are reviewed and the file is considered
resources.                                                            “complete.” Eligibility will not be determined until a student
                                                                      has been accepted as a new/transfer student.
Commonly, the following documents are needed if a student’s
Student Aid Report (SAR) indicates one of the following:              If the FAFSA has been submitted and all requested
                                                                      documents (if any) are received, eligibility is determined and
• The student is selected for verification, which is indicated        an Award Notification and Acceptance Page is e-mailed to the
   on the SAR with an asterisk (*) next to the EFC number.            student. In addition to the type and amount of loans for which
   Verification concerns applicants for most FSA programs,            the student is eligible, the Award Notification and Acceptance
   but it isn’t required if the student will only receive a           Page includes information, statements and disclosures for
   Graduate PLUS loan, Federal Direct Unsubsidized loan,              continued eligibility.
   a TEACH grant, a Federal Direct Unsubsidized loan at a
   foreign school, or GAP funds. Students at AUC are not              Students will receive a revised award letter if a student’s loan
   required to complete the verification process; however             eligibility changes based on receipt of scholarship awards,
   the school may still request documents to reconcile any            change in FAFSA information, etc.
   conflicting information that may exist on the student’s
   application. Graduate students are not eligible for any
   need-based loans. No student action is needed if the SAR
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LOAN ACCEPTANCE PROCESS                                            Any corrections to the income and asset data may be made
If you wish to accept the Federal Direct Unsubsidized Loan for     online at www.fafsa.ed.gov.
AUC you must complete the following:
• Federal Direct Unsubsidized Loan and Federal Direct Grad
   PLUS Loan Entrance Counseling at www.studentloans.gov                Sample Cost of Attendance for 2 semesters:        $72,160
• Federal Direct Unsubsidized Master Promissory Note (MPN)           Minus maximum Federal Direct Unsubsidized loan:    – $20,500
   with the U.S. Department of Education at                                 Equals the Graduate PLUS eligibility:         $51,660
   www.studentloans.gov


If you wish to accept the Federal Direct Graduate PLUS Loan,       Thus, the student would be eligible for the maximum Federal
you must complete the following:                                   Direct Unsubsidized loan of $20,500 and a Federal Direct
• A Federal Direct Graduate PLUS Loan Master Promissory            Grad PLUS loan of $51,660 for a maximum total of $72,160.
   Note (MPN) with the U.S. Department of Education at             The Department of Education charges origination fees on
   www.studentloans.gov                                            the Federal Direct Unsubsidized loan and the Federal Direct
                                                                   Graduate PLUS loan.
All students who are accepting federal aid must answer
the Title IV Authorization (included on the Award Notification     Rates effective as of 10/1/2014:
and Acceptance Page) to authorize retention of financial           Federal Direct Unsubsidized loan origination fee: 1.073%
aid funds to pay for either tuition only or tuition and all        Federal Direct Graduate PLUS loan origination fee: 4.292%
institutional fees.
                                                                   Borrow wisely! Borrowing funds to pay for your educational
                                                                   costs are a tremendous obligation and the loans must
COST OF ATTENDANCE AND EXPECTED                                    be repaid so future students continue to have the same
FAMILY CONTRIBUTION (EFC)                                          opportunities. Please utilize the loan calculator available at
Sample costs of attendance are listed below for students           www.aucmed.edu/student-finance to determine your financial
for two semesters. Costs are estimated and are subject to          need to cover your actual expenses.
change without notice.
                                                                   If you default, you risk negatively affecting your credit, which
*Please note that consumer or other personal debt (credit          will burden you for many years. Thus, even though you may be
cards, legal fees, etc.) cannot be included in the Cost of         eligible for a larger amount, we urge you to borrow only what
Attendance for Financial Aid purposes.                             you need in order to cover your educational expenses. Credit
                                                                   cards or other debt (including prior student loans) cannot be
*Consumer Information and total program costs can be               included as educational expenses.
retrieved at http://www.aucmed.edu/student-consumer-
information


The student contribution is based upon a formula enacted
into law by Congress called the Federal Methodology. The
student contribution may be found on the electronic SAR as
the Expected Family Contribution, also known as the EFC.
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LOAN SOURCES                                                             is a link to advise you of the documents required to
The Federal Direct Loan Program offers the following types of            appeal particular adverse credit: https://studentloans.gov/
loans to eligible U.S. citizens and permanent residents:                 myDirectLoan/whatYouNeed.action?page=credit
• Federal Direct Unsubsidized Loan – This is a non-need-                 The repayment period on Federal Graduate PLUS loans
   based Federal loan with a $20,500 academic year (two                  begins 60 days after the loan is fully disbursed.
   semesters) maximum. Unsubsidized loans charge interest
   from the time the money is first disbursed until it is paid        The standard, 10-year repayment period for Federal Direct
   in full. The interest is capitalized, meaning that you pay         Unsubsidized Loans begins six months after the student
   interest on any interest that has already accrued. The             graduates or drops below half-time enrollment. There may be
   borrower is responsible for the interest that accrues              alternative repayment options available based on eligibility as
   during all periods. One way to minimize how much interest          determined by the Department of Education. The interest rate
   accrues is to contact your loan servicer to arrange to pay         on loans is established by the Federal government each year
   the interest as it accumulates. The interest rate for the          on July 1st. The current origination fee for the Federal Direct
   2014-2015 award year is 6.21%. If the borrower chooses             Unsubsidized Loan is 1.073% and 4.292% for the Federal
   not to pay the interest while in school, the interest will         Direct Graduate PLUS loan. The current fixed interest rate for
   be capitalized, which means that the accrued interest is           the Federal Direct Unsubsidized Loan is 6.21% and 7.21% for
   added to the outstanding principal balance at repayment.           the Federal Direct Graduate PLUS Loan.
   Deferring interest payments while in school adds to the
   overall repayment cost of the loan.
   • Because AUC is a foreign medical school, our students            LENDERS
      are not eligible for the additional $20,000 Unsubsidized        AUC participates in the William D. Ford Federal Direct Loan
      Federal Direct Loans. The combined aggregate borrowing          Program. Students who are U.S. citizens or permanent
      limit of $138,500 for the subsidized and unsubsidized loans     residents are typically eligible for Direct Loans, and the lender
      includes any prior outstanding undergraduate/graduate           is the U.S. Department of Education. All Master Promissory
      Federal Direct Subsidized and/or Unsubsidized loans.            Notes for Direct Loans must be completed online at the U.S.
• Federal Direct Graduate PLUS Loan - This is a non-need-             Department of Education website at http://studentloans.gov.
   based federal loan for which the student can borrow up to
   the school’s cost of attendance, less other financial aid.
   The interest rate for the 2014-2015 award year is 7.21%.           PRIVATE LOAN PROGRAMS
   The Graduate PLUS credit decision is based on the last 5           AUC does not make any recommendations regarding lender
   years of your credit history. You can obtain a free copy of        selection. The lenders are listed in alphabetical order, and
   your credit report at                                              therefore do not indicate any sort of rank or preference.
   www.annualcreditreport.com. This will advise you if there          Students are encouraged to review each lender’s terms
   is adverse credit in your name, such as a payment over             and conditions before selecting a lender. Lender terms and
   90 days late, an account in collections, etc. You will want        eligibility criteria sometimes change, and while all of the
   to contact these creditors and obtain a letter from them           lenders listed currently provide loans to AUC students, they
   on their letterhead that states the account is in good             may not always do so. Students may choose to borrow from
   standing in order to appeal a credit denial for the PLUS           one of the lenders listed or from any other lender.
   loan. If your credit cannot be repaired, you may need to
   add an endorser (cosigner) for the loan. Your endorser will        Please contact FinAid@AUCmed.edu for the updated list of
   need to log on to www.studentloans.gov with their own PIN          lenders that have made loans to DeVry Education Group.
   to complete an endorser addendum. If they do not have a            (DeVry University, Chamberlain College of Nursing, Carrington
   PIN, they can obtain one at www.pin.ed.gov. The following          College, Carrington College of California, Ross Medical and
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Veterinary Schools, American University of the Caribbean and          Student Finance, usually within ten days after receipt of the
Keller Graduate School of Management) students in the past,           disbursement, provided the student has confirmed enrollment
and continue to do so as of the date listed in the document.          on campus and is making satisfactory academic progress.
If you have any credit issues, you may need to obtain a co-           For those who apply on time, disbursements usually arrive at
borrower. A co-borrower also assumes responsibility for the           the University 13 days in advance of the start of a semester.
loan to make sure the loan is repaid as agreed. The loan will         The disbursement of these funds is made on the 10th day
appear on the co-borrower’s credit report. In the event that          before the first day of classes. The Office of Student Finance
your payments are late or remain unpaid, this will also appear        is responsible for confirming eligibility of the student prior to
on your co-borrower’s credit history.                                 release of any funds.


Please be sure to check your credit history now so that you have      In order for funds to be released, continuing students must
time to resolve any outstanding credit problems. You can obtain       be registered, making satisfactory academic progress and
a free copy of your credit report at www.annualcreditreport.com.      have satisfied all other requirements as outlined in the AUC
You will most likely need to borrow additional credit based loans     Student Handbook. Funds will be distributed to students who
in your future educational costs.                                     have confirmed their attendance on the campus during the
                                                                      first week of classes. Funds will be returned to the lender for
                                                                      students who do not confirm their attendance on the campus
RESIDENCY & RELOCATION LOAN PROGRAMS                                  and/or have failed to satisfy all other University requirements.
Residency and Relocation Loans are available for students in          Loans are not available during periods in which students are
their second through final years of studies. In addition to your      not enrolled or rotating.
normal financial aid package, certain student loan lenders
offer the Residency & Relocation Loans, which provide up
to $20,000 to help students pay for exam review classes,              CANCELLATION AND RETURN OF LOAN
internship-residency interviewing and residency relocation            PROCEEDS
expenses. This loan is credit-based with a lifetime limit             Upon receipt of the Financial Aid Award Letter, the student
of $12,500-$20,000, depending on the lender. Students                 has the opportunity to cancel or reduce the loan amounts
must be enrolled and need funds to cover the cost of an               awarded. Completed online loan applications will be certified
exam review class, internship/residency interviewing and/             by your Student Finance Advisor based on the amount
or relocation expenses. Documentation of the specific needs           requested on the Award Letter and corresponding loan
may be required when applying for the loan. Funds are sent            applications, as long as those amounts do not exceed the
directly to you.                                                      student’s eligibility and Cost of Attendance. The University
                                                                      must notify the student of a disbursement to their account.


STUDENT LOAN DISBURSEMENTS                                            A student also has the right to cancel the Federal Direct
Billing and student loan disbursements are processed by               Unsubsidized, Federal Direct Grad PLUS or Private Loans after
the Office of Student Finance. Disbursements of loan funds            the loan is disbursed to the institution by the lender within 14
are made in two installments for an academic year- once per           days. In order for the University to return the loan proceeds to
semester. If any tuition and fees are outstanding, funds are          the lender in a timely fashion, the Office of Student Finance
credited to a student’s account on a first-in basis. Any credit       must receive a written request from the student within 14 days
balance remaining is forwarded to the student by the Office of        of the date on the notice of disbursement to the student. Any
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combination of loan proceeds released to the student as a            CONTINUING STUDENTS
credit balance must be returned to the institution within the        Continuing students must reapply for financial aid each award
cancellation timeframe in order to accommodate the student’s         year by filing the FAFSA. We recommend that you complete the
request for cancellation. If there is an outstanding balance on      upcoming years application by March 15th to ensure timely
the student’s account, the student must pay that obligation by       processing of financial awards. Continuing students must
making arrangements with the Office of Student Finance within        continue to satisfy all University requirements and standards
the cancellation timeframe. Students should also contact the         including, but not limited to Admissions, Satisfactory
lender/servicer in instances where they may want to return           Academic Progress (SAP) and Registration to remain eligible
all or part of their loan proceeds. Please contact the Office of     for Federal Student Financial Aid.
Student Finance for additional assistance.
                                                                     Conditionally accepted students will not receive financial aid
The University Office of Student Finance is required to              disbursements if required documents are not submitted by
cancel or return Financial Aid proceeds in cases where it            the 1st day of the 2nd semester. Funds will be placed on hold
is determined that the student has falsified documents or            until documents are received. Please refer to the Student
provided fraudulent documents or information. All cases of           Handbook.
fraudulent activity will be reported to the Vice President of
Academic Affairs, Campus Dean, DeVry Education Group
Regulatory Affairs and the U.S. Department of Education’s
                                                                         SATISFACTORY ACADEMIC PROGRESS
Office of the Inspector General.

                                                                         See the AUC Student Handbook for detailed information
                                                                         about the Student Academic Progress policy and the
LOAN MANAGEMENT
                                                                         financial aid implications for students who do not meet
Students who have outstanding educational loans from prior
                                                                         academic standards, such as receiving probationary
institutions should request an enrollment verification letter
                                                                         status or facing dismissal.
from the Office of the Registrar that is customized to reflect
the dates of enrollment and enrollment status. This letter
may be sent to student loan lenders, insurance companies, or
other agencies that require proof of enrollment. This may also       LEAVES OF ABSENCE AND CHANGES IN
be used to request “In-School” deferment from the guarantee          ENROLLMENT STATUS
agency or servicer of their prior loans.                             It is the student’s responsibility to notify the Office of the
                                                                     Registrar and the Office of Student Finance regarding a
                                                                     change of name or address, enrollment plans, USMLE scores,
FUND AVAILABILITY                                                    leaves of absence and/or withdrawal. If a student takes a
If all requirements are satisfied, financial aid credit balances     leave of absence or withdraws, s/he must complete Loan Exit
will be delivered to students upon completion of the                 Counseling online at http://studentloans.gov and notify the
confirmation process. Normally, credit balances are available        lender of his/her status.
to students during the first week of the semester. Students
should be prepared to cover at least one month’s living              A student “on leave” for any reason will be reported to the
expenses at the beginning of the semester if they have filed         lenders by the Office of the Registrar. Students on leave must
late or have experienced difficulties with loan approval.            also complete Exit Counseling. Upon return, the student
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will be classified as “in school”. Any extended time away           CONSUMER INFORMATION
from school will affect the student’s repayment period. If a        Federal regulations require AUC to provide consumer
student is out of school for more than six months at one            information to all of its student. This information can be found
time, they have exceeded the student loan grace period for          at www.aucmed.edu/student-consumer-information/
the federal direct subsidized and unsubsidized loans, and will
be placed in “repayment” status by the lender. For Federal
Direct Subsidized and Unsubsidized loans, student loan              DISABLED STUDENT SERVICES
repayment begins six months after the student graduates             AUC is committed to working with students with disabilities.
or drops below at least half-time enrollment status. In some        It is critical that the student apply prior to, or within the first
instances, students may continue to defer student loans             two weeks of the semester so that all parties have time
during residency programs. Once the six-month grace period          to consider the request for an accommodation, review the
is exhausted, another grace period will not be granted for          supporting data and make a decision well before the first
those loans.                                                        examination period. For services and information for disabled
                                                                    students please contact the following:
Students officially withdrawing from enrollment with the
University or taking an Official Leave for the remainder of the         Dr. Jeff Jarosinski
term will be credited for tuition and most refundable fees in           Assistant Dean of Student Affairs
accordance with the schedule as outlined in the AUC Student             jjarosinski@aucmed.edu
Handbook. AUC will calculate the amount of Title IV aid that a
student has earned based on a payment period and a specific
formula defined by the Department of Education. The student         INSTRUCTIONAL FACILITIES AND
will be obligated for any tuition, fees, books or equipment not     CLINICAL SITES
covered by Title IV funds.                                          Information regarding our instructional facilities and clinical
                                                                    sites is available at www.AUCmed.edu and in the AUC Student
If the student returns after six months, s/he will be               Handbook.
categorized as “in school”. This is not an automatic process.
The student should request an enrollment verification letter
from the Office of the Registrar that is customized to reflect      COURSE WITHDRAWAL PROCEDURES
the dates of enrollment and enrollment status. This letter          AUC students who are withdrawing from classes must
may be sent to student loan lenders/loan servicers to               follow several steps in order to complete the withdrawal
request “In-School” deferment from the guarantee agency or          process. The withdrawal policies and procedures can be
servicer of their prior loans. Students who enter repayment         found in the AUC Student Handbook and on the website at
status because they have not resumed study within the six-          www.AUCmed.edu or by contacting the Office of the Registrar
month period should consult with the lender/servicer of their       at Registrar@AUCmed.edu.
loans to complete the appropriate forms for forbearance or
deferment, if necessary and appropriate.
                                                                    COST OF ATTENDANCE
If you submit an appeal to the Academic Review Committee,           Students that have been awarded financial aid can request a
it does not automatically constitute continued financial aid        breakdown of their specific cost of attendance by contacting
eligibility. Please contact the University Director of Student      the Office of Student Finance at finaid@aucmed.edu.
Finance for further guidance.                                       Estimated costs for tuition and fees, room and board, books
                                                                    and supplies, transportation and personal/miscellaneous
                                                                    expenses can be found on the website at
                                                                    www.aucmed.edu/student-consumer-information/
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FAMILY EDUCATION RIGHTS AND PRIVACY                                 programs in the United States. AUC students are eligible
ACT (FERPA)                                                         to sit for the USMLE, obtain U.S. Federal Financial Aid if
FERPA is to protect the privacy of student education records,       qualified, become active members of the American Medical
to establish the right of a student to inspect and review their     Student Association (AMSA) and, upon graduation, obtain
educational records, and the right of students to have some         residency and licensure in all 50 states.
control over the disclosure of information from their records.
ANNUAL NOTIFICATION OF STUDENT RIGHTS UNDER FERPA is
published in the student handbook and on the website                STUDENT HANDBOOK
www.AUCmed.edu.                                                     To obtain information regarding the AUC Student Handbook,
                                                                    visit the website at www.AUCmed.edu. The AUC Student
                                                                    Handbook informs students about many services and
CAMPUS SAFETY AND SECURITY                                          programs that are available, as well as the policies and
To review safety practices and procedures and crime statistics      procedures of the University.
for AUC, please visit the website at www.aucmed.edu/about/
student-consumer-information.aspx.
                                                                    ACADEMIC PROGRAMS
                                                                    Information regarding programs of study and course
COMPLETION/GRADUATION RATES FOR                                     descriptions can be obtained on the website at
STUDENTS                                                            www.AUCmed.edu or by contacting the Admissions Office at
To obtain information regarding completion/graduation rates         (305) 446-0600 or by e-mail Admissions@AUCmed.edu.
for all students, please contact the Office of the Registrar at
Registrar@AUCmed.edu or visit the website at
www.aucmed.edu/about/student-consumer-information.aspx.             CONTACT FOR GENERAL
                                                                    INSTITUTIONAL ISSUES
                                                                    To obtain information regarding general institutional issues,
REFUND POLICY                                                       contact the School Administrator at (305) 446-0600.
Students who make schedule adjustments resulting in a
credit hour loan reduction or complete withdrawal from the
University may be eligible to receive a refund of tuition and       NOTICE OF AMOUNTS AND TYPES OF
fees. To obtain detailed information regarding the refund           TITLE IV AID
policy at AUC, please visit the website at www.AUCmed.edu,          Schools are required to notify students about the amount of
consult the AUC Student Handbook or contact the Office of           Title IV aid the student will receive from each program before
Student Accounts at Accounts@AUCmed.edu.                            any aid is disbursed. The Office of Student Finance provides
                                                                    information regarding the Federal Direct/Private Student
                                                                    Aid, disbursement method, schedule, and an itemization of
ACCREDITATION INFORMATION                                           Federal Direct unsubsidized loans separately through the
AUC’s medical school facilities and curriculum are accredited       award letter document. This document is provided to the
by the Accreditation Commission on Colleges of Medicine             students once the financial aid package has been completed.
(ACCM). The United States Department of Education has               It is emailed to the email address on record. For new
determined that the ACCM’s accreditation standards are              students, it is also mailed to the student’s primary address
comparable to those set by the Liaison Committee on                 listed in our system. The types of aid available are listed
Medical Education (LCME), which accredits medical education         earlier in this document.
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NOTICE OF RIGHT TO CANCEL/DECLINE                                      TERMS OF STUDENT LOANS, INCLUDING
A LOAN                                                                 REPAYMENT AND SAMPLE REPAYMENT
AUC is required to notify students of their right to cancel all        SCHEDULE
or a portion of an education loan disbursement and have the            To obtain loan repayment information such as repayment
funds returned to the U.S. Department of Education. Students           options, repayment schedule and other information visit
are notified of their right to cancel/decline their loans              Department of Education web site at www.studentloans.gov.
through the award letter notifications and loan disbursement           You will be required to review this information during the
notifications. In addition, this information is included on the        required Entrance Counseling session. Should you have
promissory note for each disbursement.                                 additional questions you may contact the Office of Student
                                                                       Finance at (732) 509-4707 or by email at finaid@AUCmed.edu.


TOTAL WITHDRAWAL FROM CLASSES/
RETURN OF TITLE IV                                                     HOW SCHOOL DISTRIBUTES AID
Students who totally withdraw from all classes in any                  AMONG STUDENTS
semester may be required to return federal funds for that              AUC students are eligible for loans though the U.S. Department
semester in accordance to the guidelines for Direct Federal            of Education William D. Ford Federal Direct Loan Program.
Student Aid. In instances where students have not maintained           Students are awarded the Federal Direct Unsubsidized Loan
Satisfactory Academic Progress, Financial Aid eligibility is           and then the Direct Federal Grad PLUS Loan. Students must
affected. For students that have not received financial aid            meet eligibility requirements for all loans.
before starting withdrawal procedures, they will be advised
in writing of their post-withdrawal eligibility within 30 days         To obtain more information about our packaging policy, please
of the start of the withdrawal process. Please refer to the            contact the Office of Student Finance at (732) 509-4707 or by
Satisfactory Academic Progress policy in the AUC Student               email at finaid@AUCmed.edu.
Handbook. For more information regarding the Title IV returns
process, please contact the Office of Student Finance at
(305) 569-8810 or Accounts@AUCmed.edu.                                 TERMS/CONDITIONS OF DEFERMENT AND
                                                                       CONSOLIDATION OF A DIRECT FEDERAL LOAN
                                                                       Students that are enrolled at AUC in the M.D. program are
HOW AND WHEN AID WILL BE DISBURSED                                     eligible for deferment of their federal student loans. AUC
If the student has completed all of the financial aid requirements     reports enrollment information every 30 days via the National
and has registered for courses, aid is typically disbursed 10 days     Student Loan Clearinghouse. If you need to obtain a deferment
prior to the beginning of the semester. To obtain information          sooner than this, you can request an enrollment verification
on disbursement methods and specific dates when aid will be            letter from the Office of the Registrar and fax/mail to your
disbursed, please contact the Office of Student Finance at             student loan lender.
(732) 509-4703 or by email at finaid@AUCmed.edu.
                                                                       To obtain information regarding loan deferment of a Direct
                                                                       Federal Loan, students must contact the U.S. Department of
                                                                       Education at www.dl.ed.gov.
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Deferral of private loans is subject to your lenders’ discretion.
Please contact your lender for details.



TITLE IV ELIGIBILITY PENALTIES FOR DRUG
CONVICTION
To obtain information regarding drug convictions’ impact
on students who are using financial aid, please refer to the
website at www.AUCmed.edu.
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IMPORTANT DATES
FAFSA DEADLINE
All students should complete the FAFSA at least 3 months prior to attending school. For students that apply late, the 2014-
2015 FAFSA should be completed at least 1 month prior to the end of the semester in which they want financial aid. Students
completing after this deadline may not be awarded financial aid for that particular term. Students filing the FAFSA by March 15,
2014 will be processed first. All other applications will be processed on a rolling basis. All FAFSAs for the 2014-2015 award year
must be submitted by June 30, 2015. 2014-2015 FAFSAs cannot be accepted by the Department of Education after this date.



MEDICAL SCIENCE STUDENTS
September 2014 Semester – By June 15th but no later than November 15, 2014
January 2015 Semester – By October 15th but no later than March 15, 2015
May 2015 Semester – By February 15th but no later than June 30, 2015



CLINICAL SCIENCE STUDENTS
September 2014 Semester – By April 1st but no later than September 30, 2014
January 2015 Semester – By July 1st but no later than January 31, 2015
May 2015 Semester – By November 1st but no later than May 30, 2015



MISSING DOCUMENTS DEADLINE
After students file the FAFSA, they will be notified if any documents are missing via e-mail. You may be asked to send proof of
citizenship, proof of Selective Service Registration, Master Promissory Notes (MPN), etc. Students are sent at least 3 reminder
notices to return missing documents.



MEDICAL SCIENCE STUDENTS
September 2014 Semester – Students’ deadline to send missing items is December 1, 2014
January 2015 Semester – Students’ deadline to send missing items is April 1, 2015
May 2015 Semester – Students’ deadline to send missing items is August 1, 2015



CLINICAL SCIENCE STUDENTS
September 2014 Semester – Students’ deadline to send missing items is October 15, 2014
January 2015 Semester – Students’ deadline to send missing items is February 15, 2015
May 2015 Semester – Students’ deadline to send missing items is June 1, 2015
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REFERENCES
 OFFICE OF STUDENT FINANCE STAFF                        COMMONLY USED FINANCIAL AID INFORMATION
                                                        PHONE NUMBERS/WEBSITES
Jennifer Dennis
Senior Director of Student Services                    Federal Student Aid Info Center
                                                       (800) 4-FEDAID
Teresa Pupo                                            www.studentaid.ed.gov
University Director of Student Finance
                                                       Free Application for Federal Student Aid (FAFSA)
Anson Pope                                             www.fafsa.ed.gov
Associate Director of Student Finance
                                                       Apply for a federal PIN number
Ryan Purdon                                            www.pin.ed.gov
Systems Analyst
Phone: (732) 509-4707                                  Federal Loan Summary Information
                                                       www.nslds.ed.gov
Loida Cabrera
Student Finance Analyst                                Entrance Loan Counseling
Phone: (305) 569-8810                                  www.studentloans.gov

Denise Coady                                           Exit Loan Counseling
Student Finance Systems Coordinator                    www.studentloans.gov
Phone: (732) 509-4816


Natasha Lewis
Student Finance Advisor
Phone: (732) 509-4703


Sheraz Qureshi
Student Finance Advisor
Phone: (732) 509-4858



 QUESTIONS?


Finaid@AUCmed.edu
Accounts@AUCmed.edu




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   Ross University    7000 SW 62nd Avenue
School of Medicine    Penthouse A
                      South Miami, FL 33143
                      phone: (305) 667-5455
                      fax: (305) 667-5459
                                                                                         ROSS
                                                                                          UNIVERSITY
                                                                            One Purpose. One Mission. One
 Ms. Yolande E. Essangui
 10405 L Hickory Ridge Road
 Columbia, Maryland                                                               July 15,2008
 21044



 Dear Ms. Essangui,

 It is with great pleasure that I write to inform you of your admission to Ross University School of
 Medicine for the class beginning September 8 th , 2008. My sincere congratulations on this important step
 toward realizing your goal of becoming a physician.

 You should take considerable pride in this achievement. Each year, we receive thousands of applications
 from dedicated and talented people who aspire to careers in medicine. From these many worthy
 candidates, we strive to identify those individuals who demonstrate the greatest promise and performance.
 In getting to know you and your abilities during the admissions process, our Admissions Committee
 believes you have the potential to be an outstanding addition to our medical program.

 You are about to begin preparing to join one of the world's most trusted and essential professions. Be
 assured that we take very seriously our role in providing you with the kind of educational preparation,
 role models, mentoring and experiences you will need to become both a skilled and compassionate healer.
 It is our hope that you will one day join our nearly 6,000 graduates now in service as medical doctors in
 the United States.

 In the coming weeks, you will receive additional information on applying for a visa, travel to Dominica,
 and course registration. Please note that your admission is contingent upon your maintenance of a
 satisfactory academic record, and that any test scores, letters of recommendation or other materials that
 have been submitted on your behalf are of the same high standards as those upon which we based our
 acceptance.

 Again, congratulations and best wishes. If you have any questions, I hope you will not hesitate to contact
 our office by phone (877-ROSS-EDU) or e-mail (Admissions@RossU.edu). We look forward to having
 you as a member of our student body.

 Sincerely,
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  .           'j
 Carey James
 Assistant Dean of Admissions




                                                   www.rossu.edu
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